              Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 1 of 35

                                   Nos. 22-55988, 22-56036

                    IN THE UNITED STATES COURT OF APPEALS
                            FOR THE NINTH CIRCUIT
                              ______________________
                                  AL OTRO LADO, INC., et al.,
                                                 Plaintiffs-Appellees/Cross-Appellants,
                                               v.
               ALEJANDRO MAYORKAS, Secretary of Homeland Security, et al.,
                                           Defendants-Appellants/Cross-Appellees,
                                              and
                      The EXECUTIVE OFFICE FOR IMMIGRATION REVIEW,
                                                         Appellant/Cross-Appellee.
                                  ______________________
  APPEAL FROM FINAL JUDGMENT OF THE UNITED STATES DISTRICT
       COURT FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                    No. 17-cv-02366-BAS-KSC
                     ______________________
  APPELLEES/CROSS-APPELLANTS’ CROSS APPEAL REPLY BRIEF

 Melissa Crow                                        Ori Lev
 CENTER FOR GENDER & REFUGEE STUDIES                 MAYER BROWN LLP
 1121 14th Street, N.W., Suite 200                   1999 K Street, N.W.
 Washington, DC 20005                                Washington, DC 20006
 (202) 355-4471                                      (202) 263-3270

 Neela Chakravartula                                 Stephen M. Medlock
 Anne Dutton                                         Evan Miller
 CENTER FOR GENDER & REFUGEE STUDIES                 Rami Rashmawi
 200 McAllister Street                               VINSON & ELKINS LLP
 San Francisco, CA 94102                             2200 Pennsylvania Ave., N.W.
 (415) 565-4877                                      Suite 500 West
                                                     Washington, DC 20036
 Baher Azmy                                          (202) 639-6500
 Angelo Guisado
 CENTER FOR CONSTITUTIONAL RIGHTS                    Counsel for Appellees
 666 Broadway, 7th Floor
 New York, NY 10012
 (212) 614-6464

753988227.2
              Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 2 of 35

 Sarah Rich
 SOUTHERN POVERTY LAW CENTER
 150 E. Ponce de Leon Ave., Suite 340
 Decatur, GA 30030
 (404) 521-6700

 Rebecca Cassler
 SOUTHERN POVERTY LAW CENTER
 1101 17th Ave. NW, Suite 705
 Washington, D.C., 20036
 (404) 521-6700

 Katherine Melloy Goettel
 Gianna Borroto
 Suchita Mathur
 AMERICAN IMMIGRATION COUNCIL
 1331 G St NW, Suite 200
 Washington, DC 20005
 (202) 507-7552




753988227.2
              Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 3 of 35




                                        TABLE OF CONTENTS

                                                                                                                Page


I.       THE DISTRICT COURT SHOULD HAVE ADDRESSED
         PLAINTIFFS’ APA § 706(2) CLAIM ........................................................... 2
         A.       Plaintiffs’ § 706(2) Claim Is Not Moot and Relief Is Available.......... 2
         B.       The Turnback Policy Exceeds Defendants’ Authority ........................ 4
         C.       The Turnback Policy Is Arbitrary and Capricious ............................... 8
II.      PLAINTIFFS SHOULD PREVAIL ON THEIR INDEPENDENT
         INA CLAIM ...............................................................................................111
III.     PLAINTIFFS SHOULD PREVAIL ON THEIR ATS CLAIM...................14
         A.       Sale Does Not Foreclose Recognition that Non-Refoulement
                  Applies at the Border..........................................................................14
         B.       The Government’s Asserted Prudential Factors Do Not
                  Foreclose Recognition of the Norm ...................................................17
         C.       Defendants’ Novel ATS Arguments on the Merits Are
                  Unpersuasive ......................................................................................23




                                                           i
753988227.2
              Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 4 of 35




                                     TABLE OF AUTHORITIES

                                                                                                           Page(s)

Cases

Akiachak Native Community v. Department of Interior,
   827 F.3d 100 (D.C. Cir. 2016) .............................................................................. 3

Al Shimari v. CACI Premier Tech., Inc.,
   368 F. Supp. 3d 935 (E.D. Va. 2019) ...........................................................22, 23

Al Shimari v. CACI Premier Tech., Inc.,
   758 F.3d 516 (4th Cir. 2014) .............................................................................. 18

Al Shimari v. CACI Premier Tech., Inc.,
   840 F.3d 147 (4th Cir. 2016) .............................................................................. 20

Alaska v. United States,
   64 F.3d 1352 (9th Cir. 1995) .............................................................................. 21

Armstrong v. Exceptional Child Ctr., Inc.,
  575 U.S. 320 (2015) ......................................................................................13, 22

Biden v. Sierra Club,
   142 S. Ct. 46 (2021) ............................................................................................ 13

Biden v. Texas,
   142 S. Ct. 2528 (2022) .......................................................................................... 3

Blazevska v. Raytheon Aircraft Co.,
   522 F.3d 948 (9th Cir. 2008) .............................................................................. 15

C.D.A. v. United States,
   2023 WL 2666064 (E.D. Pa. Mar. 28, 2023) ..................................................... 23

California v. Trump,
  963 F.3d 926 (9th Cir. 2020) .............................................................................. 12

Chambers v. NASCO, Inc.,
  501 U.S. 32 (1991) ................................................................................................ 6


                                                          ii
753988227.2
           Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 5 of 35




                                    TABLE OF AUTHORITIES
                                          (continued)

                                                                                                          Page(s)

Dart v. United States,
  848 F.2d 217 (D.C. Cir. 1988) ............................................................................ 13

E. Bay Sanctuary Covenant v. Trump,
   932 F.3d 742 (9th Cir. 2018) ................................................................................ 7

E.V. v. Robinson,
   906 F.3d 1082 (9th Cir. 2018) ............................................................................ 11

East Bay Sanctuary Covenant v. Biden,
  993 F.3d 640 (9th Cir. 2021) ................................................................................ 3

In re Estate of Marcos, Human Rights Litig.,
    25 F.3d 1467 (9th Cir. 1994) ........................................................................18, 20

In re Federal Bureau of Prisons’ Execution Protocol Cases,
    980 F.3d 123 (D.C. Cir. 2020) .............................................................................. 3

Filártiga v. Pena–Irala,
   630 F.2d 876 (2d Cir. 1980) .........................................................................18, 20

Flomo v. Firestone Nat. Rubber Co.,
   643 F.3d 1013 (7th Cir. 2011) ............................................................................ 18

Graham v. FEMA,
  149 F.3d 997 (9th Cir. 1998) .............................................................................. 13

Hernandez v. Mesa,
  140 S. Ct. 735 (2020) .......................................................................................... 19

Hernandez v. Mesa,
  582 U.S. 548 (2017) (Breyer, J., dissenting) ......................................................15

Hirsi Jamaa and Others v. Italy,
   2012-II Eur. Ct. H.R. 97 (2012).......................................................................... 23

Jafarzadeh v. Duke,
   270 F. Supp. 3d 296 (D.D.C. 2017) ..............................................................11, 12
           Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 6 of 35




                                     TABLE OF AUTHORITIES
                                           (continued)

                                                                                                           Page(s)

Jesner v. Arab Bank, PLC,
   138 S. Ct. 1386 (2018) ........................................................................................ 20

Kadic v. Karadzic,
  70 F.3d 232 (2d Cir. 1995) ...........................................................................20, 22

Kiobel v. Royal Dutch Petroleum Co.,
   569 U.S. 108 (2013) ............................................................................................ 19

U.S. ex rel. Knauff v. Shaughnessy,
   338 U.S. 537 (1950) .......................................................................................... 6, 7

Leng May Ma v. Barber,
   357 U.S. 185 (1958) ............................................................................................ 16

Mireskandari v. Mayne,
  2016 WL 1165896 (C.D. Cal. Mar. 23, 2016).................................................... 22

Murphy Co. v. Biden,
  65 F.4th 1122 (9th Cir. 2023) ............................................................................. 11

Navajo Nation v. Dep’t of the Interior,
  876 F.3d 1144 (9th Cir. 2017) ......................................................................12, 21

Nestlé USA, Inc. v. Doe,
  141 S. Ct. 1931 (2021) ........................................................................................ 19

Ninilchik Traditional Council v. United States,
   227 F.3d 1186 (9th Cir. 2000) ............................................................................ 13

Plaskett v. Wormuth,
   18 F.4th 1072 (9th Cir. 2021) ............................................................................... 6

Sale v. Haitian Centers Council, Inc.,
   509 U.S. 155 (1993) ..........................................................................14, 15, 16, 17

Sarei v. Rio Tinto, PLC, 671 F.3d 736 (9th Cir. 2011), amended by
   772 F.3d 1109 (9th Cir. 2013) ............................................................................ 20
            Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 7 of 35




                                       TABLE OF AUTHORITIES
                                             (continued)

                                                                                                                  Page(s)

Siderman de Blake v. Republic of Argentina,
   965 F.2d 699 (9th Cir. 1992) ..................................................................15, 17, 22

Sierra Club v. Trump,
   929 F.3d 670 (9th Cir. 2019) .............................................................................. 12

Sierra Club v. Trump,
   963 F.3d 874 (9th Cir. 2020), vacated on other grounds sub nom
   Biden v. Sierra Club, 142 S. Ct. 46 (2021) ......................................................... 13

Sosa v. Alvarez-Machain,
   542 U.S. 692 (2004) .....................................................................................passim

Stark v. Wickard,
   321 U.S. 288 (1944) ............................................................................................ 11

United States v. Beggerly,
  524 U.S. 38 (1998) .............................................................................................. 21

United States v. Matta-Ballesteros,
  71 F.3d 754 (9th Cir. 1995), modified by 98 F.3d 1100 (9th Cir.
  1996) ................................................................................................................... 19

Washington v. U.S. Dep’t of Homeland Security,
  614 F. Supp. 3d 863 (W.D. Wash. 2020) ............................................................. 2

Yousuf v. Samantar,
  699 F.3d 763 (4th Cir. 2012) .............................................................................. 22

Ziglar v. Abbasi,
   582 U.S. 120 (2017) ............................................................................................ 21

Statutes

5 U.S.C. § 702 .......................................................................................................... 21

5 U.S.C. § 706 ...................................................................................................passim

6 U.S.C. § 111 ....................................................................................................4, 5, 8
           Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 8 of 35




                                       TABLE OF AUTHORITIES
                                             (continued)

                                                                                                                Page(s)

6 U.S.C. § 202 ........................................................................................................ 4, 5

6 U.S.C. § 211 ........................................................................................................ 4, 5

8 U.S.C. § 1103 ..................................................................................................4, 5, 6

8 U.S.C. § 1158 ...................................................................................................... 5, 6

8 U.S.C. § 1252 .................................................................................................... 4, 11

18 U.S.C. § 2340 ...................................................................................................... 18

18 U.S.C. § 2441 ...................................................................................................... 18

Immigration and Nationality Act ......................................................................passim

Torture Victims Protection Act of 1991, 8 U.S.C. § 1350 note sec.
   2(a), 106 Stat. 73 (1992) ..................................................................................... 18

Other Authorities

Fed. R. Civ. P. 12 ..................................................................................................... 21

G.A. Res. 2312, Declaration on Territorial Asylum, 22 U.N. GAOR
  Supp. (No. 16) at 31, U.N. Doc. A/6716 (1967) ................................................ 23

U.N. Human Rights Comm., Views of the Human Rights Committee
  Under Article 5(4) of the Optional Protocol to the International
  Covenant on Civil and Political Rights .............................................................. 17
              Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 9 of 35




                                     INTRODUCTION

         The facts are not in dispute. Defendants turned back asylum seekers who were

in the process of arriving at Class A ports of entry (“POEs”) on the U.S.-Mexico

border, in direct violation of domestic statutes and the specific, universal, and

obligatory international law norm known as non-refoulement. After adopting a

policy to illegally turn people back, Defendants memorialized it in writing.1 Because

those facts are undisputed, the district court should have granted summary judgment

to Plaintiffs on their claims regarding § 706(2) of the Administrative Procedure Act

(“APA”), ultra vires agency action in violation of the Immigration and Nationality

Act (“INA”), and the Alien Tort Statute (“ATS”). At the very least, the district court

should have reached Plaintiffs’ § 706(2) claim and should not have granted summary

judgment to Defendants on the INA and ATS claims.

         Defendants’ answering brief demonstrates that they have no legitimate

defense for their wrongdoing. Defendants argue that the court should overlook their

illegal conduct because (a) the Executive branch does not actually have to follow the

law when it does not want to, (b) they preferred to focus on other responsibilities

assigned to them, and (c) they let some asylum seekers into the United States. Those

arguments are irrelevant. Defendants have no right to ignore the INA simply because


1
  Defendants subsequently replaced that written policy document with another
written policy document that similarly permits them to turn back arriving asylum
seekers.
                                               1
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 10 of 35




they believe that Congress’ dictates are not helpful to them. Furthermore, the fact

that Defendants’ turnback policy did not foreclose all access to the U.S. asylum

process is no defense. Plaintiffs should have won this case on all counts.

                                     ARGUMENT

I.       The District Court Should Have Addressed Plaintiffs’ APA § 706(2)
         Claim

         A.    Plaintiffs’ § 706(2) Claim Is Not Moot and Relief Is Available

         First, Plaintiffs’ § 706(2) claim is not mooted by Defendants’ rescission or

replacement of CBP’s original memoranda concerning the turnback policy. The

§706(2) claim is not limited to the earlier memoranda. It instead challenges the

entirety of Defendants’ turnback policy, which began in 2016 and was in effect for

two years before being memorialized in writing. See 3-ER-824, 916; 2-ER-339, 369-

72, 383, 389. And Defendants’ replacement of the memoranda in November 2021

did not mark the end of the turnback policy, as the new guidance continues to

authorize the use of turnbacks based on the illusory concept of “operational

capacity.” 2-ER-315; see Second Br. 11-12.

         As the district court recognized, “[a]gency action . . . need not be in writing

to be final and judicially reviewable” under the APA. 1-ER-267; see also

Washington v. U.S. Dep’t of Homeland Security, 614 F. Supp. 3d 863, 872 & n.11

(W.D. Wash. 2020) (collecting cases). The turnback policy—not just the 2018

memoranda—met the standard for final agency action as of 2016, a point Defendants


                                            2
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 11 of 35




do not challenge in their answering brief. See Second Br. 43. That policy is still in

effect today.

         The caselaw Defendants cite is inapposite. Third Br. 35-36. Unlike in Biden

v. Texas, 142 S. Ct. 2528, 2545 (2022), here the turnback policy indisputably exists

independent of the now-rescinded written guidance in effect from 2018 to 2021. See

e.g., 2-ER-372 (November 2016 email directing that “each [POE] management work

with their Mexican counterparts to meter the [flow] of Haitians, South and Central

Americans”). And Akiachak Native Community v. Department of Interior simply

states that when plaintiffs challenge a single regulation, their case is mooted by the

government’s rescission of that regulation since “the scope of a federal court’s

jurisdiction . . . is defined by the affirmative claims to relief sought in the complaint.”

827 F.3d 100, 105-06 (D.C. Cir. 2016). Plaintiffs’ § 706(2) claim challenges the

turnback policy itself and is not limited to the memoranda. See 4-ER-824, 916.

         Second, injunctive relief is available for §706(2) claims. Contra Third Br. 36.

Courts routinely approve injunctions in APA challenges, contrary to Defendants’

claim that vacatur is the only relief available in § 706(2) cases. See, e.g., East Bay

Sanctuary Covenant v. Biden, 993 F.3d 640, 681 (9th Cir. 2021) (describing “broad

equitable relief available in APA challenges” and affirming preliminary injunction

entered on §706(2) challenge); In re Federal Bureau of Prisons’ Execution Protocol




                                            3
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 12 of 35




Cases, 980 F.3d 123, 128 (D.C. Cir. 2020) (discussing standards for evaluating when

a permanent injunction is warranted for an APA claim).

         Third, the district court did not address the question of whether injunctive

relief is available for Plaintiffs’ § 706(2) claim because it did not reach the merits;

there is thus no holding Plaintiffs could have challenged on appeal. See Second Br.

43 n.17; contra Third Br. 36. As discussed further below, Plaintiffs’ § 706(2) claim

contends that the turnback policy—including Defendants’ policy of affirmatively

blocking class members’ access to POEs—is unlawful because it is pretextual and

ultra vires of all of the statutes Defendants claim provide this authority.2 Because

the district court’s 8 U.S.C. § 1252(f)(1) holding does not address Plaintiffs’ § 706(2)

claim, remand to allow the district court to address the issue in the first instance is

warranted.

         B.    The Turnback Policy Exceeds Defendants’ Authority

         No Act of Congress or other source of legal authority allows Defendants to

limit the flow of asylum seekers entering the United States. Defendants’ argument

that turnbacks were merely a means of “concurrently” discharging their “specific


2
  Defendants have consistently taken the position that metering is an exercise of their
statutory authority under 6 U.S.C. §§ 111, 202, 211 and 8 U.S.C. § 1103. See FER-
118. However, in their appellate answering brief, they assert for the first time that
metering is “the manner in which CBP implements [8 U.S.C.] § 1225,” and that the
district court found this to be true. Third Br. 36. In fact, the district court’s analysis
makes clear that it understood Defendants to be claiming 6 U.S.C. § 202 and 8 U.S.C.
§ 1103 as the statutory authorization for metering. 1-ER-29.
                                            4
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 13 of 35




obligations under Section 1225” and their “broader mandates” is wrong as a matter

of law and fact. Third Br. 37. Defendants quote various other duties assigned to them

by Congress, id. 37-38, but fail to grapple with four key points.

         First, they ignore the fact that those general statutes also direct Defendants to

“administer all immigration laws,” including “the inspection, processing, and

admission of persons who seek to enter or depart the United States.” 6 U.S.C. §

211(c)(8)(A). See also 1-ER-104.

         Second, they ignore the statutory interpretation principles relied upon by the

District Court and Plaintiffs with regard to the scope of Defendants’ general

authority granted in 6 U.S.C. §§ 111, 202, 211 and 8 U.S.C. § 1103, that “the specific

[here, Sections 1158(a) and 1225] governs the general,” Second Br. 44-45 (citing

cases) and that “a specific statute will not be controlled or nullified by a general

one,” 1-ER-104 (citing cases).

         Third, Defendants argue that they did not “evade” their inspection obligations

because they inspected some arriving asylum seekers while turning away the

majority. Third Br. at 38. This argument misses the point. Whatever other general

duties Congress may have imposed on Defendants are irrelevant—Congress

required Defendants to inspect all arriving asylum seekers and did not provide them

any authority to implement a turnback policy or otherwise limit the number of

individuals granted access to the asylum process. See 6 U.S.C. §§ 111, 202, 211; 8


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753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 14 of 35




U.S.C. § 1103 (containing no authorization to limit the number of asylum seekers at

ports or to turn asylum seekers back); see also 8 U.S.C. §§ 1158(a) (right to apply

for asylum), 1225(a)(3) (requiring inspection of all arriving noncitizens),

1225(b)(1)(A)(ii) (providing for referral of arriving asylum seekers for interviews).

The question here is not whether Defendants “evaded” their obligations in toto, but

instead whether Defendants have any authority to limit the inspection and referral of

arriving asylum seekers. Defendants have cited no such authority because none

exists. The turnback policy is in excess of Defendants’ statutory authority and not in

accordance with law, notwithstanding any other general duties Congress assigned to

them.

         Fourth, Defendants continue to assert that they have inherent authority to turn

away asylum seekers, Third Br. 37-39, without acknowledging that agency authority

springs from statutes alone. Plaskett v. Wormuth, 18 F.4th 1072, 1087 (9th Cir. 2021)

(an administrative agency “has no powers except those specifically conferred upon

it by statute” (quoting Chambers v. NASCO, Inc., 501 U.S. 32, 45 (1991))). Even if

that were not the case, there can certainly be no inherent executive authority to defy

a statute.3


3
 U.S. ex rel. Knauff v. Shaughnessy, 338 U.S. 537 (1950), which Defendants cite to
support their expansive claim of executive power, Third Br. 39, is inapposite. In
Knauff, a pre-INA case, the executive decision at issue was made pursuant to a
delegation of authority from Congress permitting the exclusion of noncitizens based


                                            6
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 15 of 35




         Defendants’ argument that their “policy was not to ‘turn back asylum

seekers,’” but instead to “manage the flow” of asylum seekers based on operational

needs, is belied by the undisputed factual record. See 1-ER-99-100 (“the record

contains undisputed evidence that … CBP officers did not carry out their discrete

statutory duties to inspect and refer asylum seekers to start the asylum process once

they arrived at POEs; instead, Defendants stationed CBP personnel at the limit line

to ‘turn away’ or ‘push back’ asylum seekers as they reached POEs.”); see also infra

Section I.C.4

         Finally, Defendants contend, in Orwellian fashion, that the turnback policy is

justified by the statutory directive that they “ensure that the functions of the ...

Department that are not related directly to securing the homeland are not diminished

or neglected except by a specific explicit Act of Congress.” Third Br. 39 (quoting 6




on national security concerns during wartime. 338 U.S. at 543-44. Here, by contrast,
Defendants are acting in contravention of an express Congressional directive to
inspect and process arriving asylum seekers. Given that “Congress is vested with the
principal power to control the nation’s borders,” E. Bay Sanctuary Covenant v.
Trump, 932 F.3d 742, 755 (9th Cir. 2018), any inherent authority the executive might
have is irrelevant in this context.
4
  Defendants’ citation to amici’s statement that “there may be times when a state is
genuinely unable to accept and process all asylum-seekers at its border,” Third Br.
39, (a) ignores the rest of that sentence, which warns that “repeatedly refusing to
accept asylum-seekers constitutes a failure to fulfill that state’s obligations under the
U.N. Convention,” Amicus Br. of Amnesty Int’l, Dkt. 30 at 15 n. 36, and (b) ignores
the factual record that Defendants were not “genuinely unable” to process arriving
asylum seekers.

                                            7
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 16 of 35




U.S.C. §111(b)(1)(E) (internal quotations and emphasis omitted). This language

clearly indicates that Congress wanted to ensure that the then-new Department of

Homeland Security (DHS) would not prioritize its homeland security obligations at

the expense of its other mandates. Yet that is precisely what the turnback policy

does—subordinating the inspection and processing of arriving asylum seekers to

virtually every other DHS mission. 2-ER-520 (prioritizing national security,

counter-narcotics, and economic security, and noting that asylum processing

“remains a component of CBP’s mission, but priority should be given to the efforts

described above in the prescribed order.”).

         At bottom, Defendants argue that so long as they processed some asylum

seekers (regardless of how many were arriving at POEs), they could do as they

pleased. That is not what Congress said in the INA, however, and absent any other

source of authority to “‘turn back’ or ‘push back’ asylum seekers as they reached

POEs,” 1-ER-100, Defendants’ conduct is a violation of §706(2)(C).

         C.    The Turnback Policy Is Arbitrary and Capricious

         Defendants argue that the turnback policy is not arbitrary and capricious

because they were actually facing capacity constraints and turning back arriving

asylum seekers helped alleviate those constraints. Third Br. 40-43. That is incorrect

for three reasons.




                                           8
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 17 of 35




         First, the turnback policy was not designed to address actual capacity issues.

Defendants’ own employee testified that “it was obvious to everyone implementing

[the turnback policy] . . . that the capacity excuse was a lie.” 1-SER-165. Another

CBP officer testified that CBP had the resources to process asylum seekers in the

order that they came to POEs, but chose not to. 3-SER-559. Moreover, a report from

DHS’ Office of Inspector General concluded that seven POEs “effectively stopped

processing” arriving asylum seekers, despite being legally required to do so. 1-SER-

20. At two POEs, Defendants “stopped using blocks of available holding cells,

allowing those cells to sit empty while [asylum seekers] waited in . . . lines in

Mexico.” 1-SER-21. Finally, a contemporaneous email from a CBP officer noted

that the Hidalgo POE had removed seats from its secondary inspection area to

decrease its processing capacity. 2-SER-350; 3-SER-565. Apart from a meaningless

footnote buried in Defendants’ brief stating that the “Government generally

disputes” those facts for unspecified reasons, see Third Br. 41, Defendants have no

response to these specific facts from their own employees and documents.

Defendants cannot defeat summary judgment merely by “generally disput[ing]”

witness testimony.

         Second, turnbacks continued regardless of the actual number of asylum

seekers arriving at POEs. For example, the number of asylum seekers presenting

themselves for inspection at POEs dropped significantly in 2017, but Defendants


                                            9
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 18 of 35




continued turning back arriving asylum seekers. 1-SER-82, 103, 106, 109, 112, 116,

120, 176; 2-SER-287; 3-SER-508, 516; see also Third Br. 41 (arguing only that “use

of [turnbacks] did decrease” in late 2016/early 2017, but conceding that turnbacks

still occurred). Similarly, after an anticipated “caravan” of asylum seekers failed to

materialize at POEs in the spring of 2018, Defendants nonetheless continued to turn

back arriving asylum seekers and took further steps to memorialize the turnback

policy in the 2018 memoranda.

         Third, Defendants ignore additional factual context showing that turnbacks

had nothing to do with asserted capacity concerns. Defendants processed more

asylum seekers at POEs prior to implementing the turnback policy, demonstrating

their capacity to do so. See 3-SER-557; 1-FER-010-012. 5 Moreover, when CBP

officials came up with ways to increase the processing capacity of POEs, their

management told them to keep turning back asylum seekers. 4-SER-909 (“maintain

queue management”); 4-SER-915 (declining proposal that “would defeat the

purpose of queue management”).

         The turnback policy was arbitrary and capricious. Defendants’ half-hearted

attempt to misrepresent the record only emphasizes that conclusion.



5
  Citations to 1-FER and 2-FER are to the volumes of the Further Excerpts of Record
filed by Plaintiffs contemporaneously with this brief. Citations to FER without a
volume number are to the Futher Excerpts of Record filed by Defendants at docket
entry 63.
                                           10
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 19 of 35




II.      Plaintiffs Should Prevail on Their Independent INA Claim

         Plaintiffs separately challenge Defendants’ ultra vires actions of turning away

asylum seekers from POEs. Should Plaintiffs’ allegations not satisfy the § 706(2)

requirements for reviewability, this independent cause of action is a viable source of

relief under courts’ longstanding equitable authority to grant nonmonetary relief to

remedy unauthorized government action. FER-066; see Murphy Co. v. Biden, 65

F.4th 1122, 1129 (9th Cir. 2023) (explaining, in a non-APA case, that “actions by

subordinate Executive Branch officials that extend beyond delegated statutory

authority—i.e., ultra vires actions—are reviewable”); Stark v. Wickard, 321 U.S.

288 (1944) (holding, pre-APA, that an injunction was available against the Secretary

of Agriculture for allegedly exceeding statutory authority).6

         Defendants concede that the district court’s analysis under E.V. v. Robinson,

906 F.3d 1082 (9th Cir. 2018), which formed the basis for its grant of summary

judgment to Defendants on this claim, was incorrect. Third Br. 45. Defendants’

attempt to portray the decision below as based on anything other than E.V. v.

Robinson is disingenuous. Defendants incorrectly assert that the district court

granted summary judgment on this claim because Plaintiffs “could obtain review

under the APA,” citing Jafarzadeh v. Duke, 270 F. Supp. 3d 296, 311 (D.D.C. 2017).


6
 As with Plaintiffs’ § 706(2) claim, the district court did not analyze the application
of 8 U.S.C. § 1252(f)(1) to Plaintiffs’ independent INA claim. The district court
should address that issue on remand.

                                           11
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 20 of 35




Third Br. 45. The district court did cite Jafarzadeh, but only to support its incorrect

reasoning that if the APA’s waiver of sovereign immunity is available, there can be

no claim for nonstatutory review. 1-ER-96.7 Defendants also misleadingly cite the

district court’s first motion-to-dismiss opinion, Third Br. 45 (citing FER-285-286),

which was superseded when Plaintiffs amended the complaint. In its second motion-

to-dismiss opinion, the district court expressly reconsidered its prior reasoning, 1-

ER-283-85, and did not dismiss the independent INA claim, 1-ER-301.

         Affirming summary judgment on this claim would be premature and directly

contrary to binding Ninth Circuit precedent. First, Plaintiffs’ independent INA claim

was brought in the alternative to their APA §706(2) claim, and the district court has

decided the merits of neither claim in the first instance. Second, the law in the Ninth

Circuit is clear on this point: APA and equitable ultra vires claims “can proceed

separately.” California v. Trump, 963 F.3d 926, 941 n.12 (9th Cir. 2020) (noting this

was permissible even where the claims sought the same scope of relief, but

ultimately declining to address the equitable claim where the APA claim provided

complete relief). Defendants misleadingly quote this Court’s decision in Sierra Club




7
 The district court’s reasoning and reliance on Jafarzadeh contradict clear Ninth
Circuit precedent holding that the APA’s waiver of sovereign immunity “enacted a
broad, unqualified waiver for all non-monetary claims for relief against federal
agencies,” not just claims that meet the requirements of the APA. Navajo Nation v.
Dep’t of the Interior, 876 F.3d 1144, 1172 (9th Cir. 2017) (emphasis added).

                                           12
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 21 of 35




v. Trump, 929 F.3d 670 (9th Cir. 2019), in an attempt to turn binding precedent on

its head. Third. Br. 44. In Sierra Club, this Court held that although “the APA is the

general mechanism by which to challenge final agency action,” it does not

“foreclose[] other causes of action” and plaintiffs can bring “an equitable cause of

action for injunctive relief” outside of the APA. 929 F.3d at 699. See also Armstrong

v. Exceptional Child Ctr., Inc., 575 U.S. 320, 326-27 (2015) (the Court has “long

held” that courts may enjoin violations of federal law by federal officials, based on

a “long history of judicial review of illegal executive action” in courts of equity);

Sierra Club v. Trump, 963 F.3d 874, 890-93 (9th Cir. 2020), vacated on other

grounds sub nom Biden v. Sierra Club, 142 S. Ct. 46 (2021) (noting that “[w]hen

Congress limits its delegation of power, courts infer (unless the statute clearly directs

otherwise) that Congress expects this limitation to be judicially enforced,” and that

the APA “has not altered this presumption” (quoting Dart v. United States, 848 F.2d

217, 223 (D.C. Cir. 1988))).

         Defendants’ other citations on this point fare no better. Graham v. FEMA

revised a district court’s dismissal of an alternative “nonstatutory” constitutional

claim to dismissal without prejudice, to allow for potential later adjudication. 149

F.3d 997, 1001 n.2 (9th Cir. 1998). Ninilchik Traditional Council v. United States,

turns on the proper standard of review for actions brought under APA § 706(2) and




                                           13
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 22 of 35




does not discuss independent “nonstatutory” claims. 227 F.3d 1186, 1994 (9th Cir.

2000).

         The district court’s grant of summary judgment to Defendants on Plaintiffs’

alternative nonstatutory review INA claim should be reversed.

III.     Plaintiffs Should Prevail on Their ATS Claim

         Defendants have no meaningful response to the consensus of international law

authority identified by Plaintiffs and their amicus, International Refugee Scholars,

which demonstrates that non-refoulement at the border is a jus cogens norm that

meets the “specific, universal and obligatory” standard under Sosa v. Alvarez-

Machain, 542 U.S. 692, 732, 748-49 (2004), and is therefore judicially enforceable

under the ATS. Defendants’ maximalist interpretation of Sale v. Haitian Centers

Council, Inc., 509 U.S. 155, 183 (1993), and their novel invocation of prudential

considerations do not foreclose Plaintiffs’ entitlement to relief.

         A.    Sale Does Not Foreclose Recognition that Non-Refoulement
               Applies at the Border

         Defendants’ nearly exclusive reliance on dicta from Sale to support a

categorical rule foreclosing any “extraterritorial” recognition of non-refoulement




                                           14
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 23 of 35




under the ATS is misguided, as the norm unambiguously applies at least to the

border.8

         Sale’s actual holding was, at most, that Article 33 of the 1951 Refugee

Convention was silent on whether the non-refoulement language applied to protect

migrants interdicted on the “high seas.” See 509 U.S. at 187 (“We do not read that

text to apply to aliens interdicted on the high seas.”); see also id. at 159; 160, 166-

67; 173; 179-80 (all referencing “high seas”); Blazevska v. Raytheon Aircraft Co.,

522 F.3d 948, 954 (9th Cir. 2008) (Sale involved the “deportation of aliens from

international waters”).

         Nevertheless, Defendants seek to transform what they concede is this limited,

“ultimate holding” of Sale, Third Br. 51, into a maximalist principle foreclosing

recognition of the norm if a person claiming fear is located anywhere outside a bright

territorial line. But, both legally and practically speaking, the distance between the

high seas and the land border is significant: an individual “intercepted on the high




8
  Defendants essentially replicate the district court’s erroneous conclusion that select
departures from an international-law norm displace its universal or obligatory status.
Third Br. 49-50. This Court should not give weight to departures from the norm by
a small number of states when considering the overwhelming support of most
countries for non-rejection at the frontier of individuals who would otherwise be
likely to suffer persecution. See Second Br. 53-54 & 56-58 nn. 19-22; Siderman de
Blake v. Republic of Argentina, 965 F.2d 699, 715 (9th Cir. 1992) (jus cogens “is
derived from values taken to be fundamental by the international community, rather
than from the fortuitous or self-interested choices of nations”).

                                           15
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 24 of 35




seas is in no country at all,” Sale, 509 U.S. at 179, whereas international law has

developed a consensus that, in part because of a sovereign’s assertion of power at

the border, the non-refoulement norm unambiguously applies there. See Second Br.

56-58 nn. 19-22; Amicus Br. Refugee Scholars, Dkt. 35 at 20; see also Hernandez

v. Mesa, 582 U.S. 548, 559 (2017) (Breyer, J., dissenting) (border is a “limitrophe”

area, a liminal frontier region where “international law recognizes special duties and

obligations”).9

         Indeed, Sale’s own analysis of the meanings of “expel” and “return

(‘refouler’)” in Article 33.1 supports this distinction.10 Sale concluded that expel

“has the same meaning as deport,” referring to someone already “present in the host

country,” and that return (refouler) refers to individuals “on the threshold of initial

entry.” 509 U.S. at 180 (citing Leng May Ma v. Barber, 357 U.S. 185, 187 (1958)).

Critically, the Court observed that English translations of “refouler” “imply that

‘return’ means a defensive act of resistance or exclusion at a border rather than an

act of transporting someone to a particular destination.” Id. at 182 (emphasis added).



9
  Defendants argue that non-refoulement is not defined with requisite “specificity,”
Third Br. 49, but that is only because Defendants focus on whether the norm applies
in all circumstances extraterritorial, as opposed to the question at issue here:
whether the norm applies specifically at the border.
10
   The English-language version of the 1951 Refugee Convention uses the French
verb refouler to explain the English verb “return”: “No Contracting State shall expel
or return (‘refouler’) a refugee . . . .” Convention Relating to the Status of Refugees,
art. 33.1, July 28, 1951 19 U.S.T. 6259, 6276, 189 U.N.T.S. 150.
                                           16
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 25 of 35




Sale did not address the contours of the non-refoulement at the border because the

refugees in question were on the high seas. In contrast, it is hard to conjure a more

apt description of those “on the threshold of initial entry,” and thus protected from

being “returned” (refouler) than Plaintiffs and class members. It is even harder to

identify a policy that more accurately represents “a defensive act of resistance or

exclusion at a border” than the turnback policy. Id. at 192.

         Finally, Defendants fail to address that Sale was not an ATS case and limited

its consideration of international law to whether the provisions of Article 33 directly

afforded relief to petitioners. But the ATS’ focus on the “law of nations” requires

the court to consider a multiplicity of other—and more contemporary—sources of

law. See Siderman, 965 F.2d at 714-15. As further detailed in the Second Brief and

the amicus of Refugee Scholars, the turnback policy violates nonrefoulement of an

asylum seeker “at the frontier.” See U.N. Human Rights Comm., Views of the Human

Rights Committee Under Article 5(4) of the Optional Protocol to the International

Covenant on Civil and Political Rights, at 176, U.N. Doc. A/36/40 (June 6, 1979).

         B.    The Government’s Asserted Prudential Factors Do Not Foreclose
               Recognition of the Norm

         None of Defendants’ newly-asserted prudential reasons are persuasive.

         Separation of Powers

         Defendants assert that the existence of U.S. treaty obligations and statutes

governing withholding of removal (as well as concomitant limitations on judicial

                                           17
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 26 of 35




review of those statutes) foreclose an ATS cause of action. Defendants cite no

authority for this novel proposition, as the existence of statutory enactments that run

parallel to the ATS has nothing to do with the court’s independent duty to enforce

customary international law norms under Sosa. The district court correctly rejected

this “preemption” argument when it was raised in seeking to dismiss Plaintiffs’ ATS

claim in the First Amended Complaint. 1-ER-299 (“there is no absolute preclusion

of international law claims by the availability of domestic remedies for the same

alleged harm.”) (internal quotations omitted). See also Flomo v. Firestone Nat.

Rubber Co., 643 F.3d 1013, 1022 (7th Cir. 2011) (“the fact that Congress may not

have enacted legislation implementing a particular treaty or convention . . . does not

make a principle of customary international law evidenced by the treaty or

convention unenforceable in U.S. courts.”).

         Defendants’ argument runs headlong into settled ATS jurisprudence. For

example, Congress has enacted limited prohibitions on torture via the federal Torture

Statute, 18 U.S.C. § 2340; the War Crimes Act of 1996, 18 U.S.C. § 2441; and the

Torture Victims Protection Act of 1991, 8 U.S.C. § 1350 note sec. 2(a), 106 Stat. 73

(1992). Yet none of the dozens of cases enforcing the anti-torture norm via the ATS

took that substantial congressional action as a reason to displace the judiciary’s

independent authority to enforce the norms against torture, war crimes, or cruel,

inhuman, and degrading treatment. See e.g. Sosa, 542 U.S. at 728, 732 (quoting with


                                           18
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 27 of 35




approval Filártiga v. Pena–Irala, 630 F.2d 876, 890 (2d Cir. 1980)) (torture); In re

Estate of Marcos, Human Rights Litig., 25 F.3d 1467, 1475 (9th Cir. 1994) (torture));

Al Shimari v. CACI Premier Tech., Inc., 758 F.3d 516, 525-31 (4th Cir. 2014)

(torture).



         National Security and Foreign Relations

         Defendants assert that undifferentiated national security and foreign relations

“considerations” “at the border” categorically foreclose recognizing an ATS cause

of action. Third Br. 55-56. Defendants’ exclusive reliance on Hernandez v. Mesa,

140 S. Ct. 735, 746 (2020)—a Bivens case—reveals a fundamental error in their

argument. Bivens claims are a judicially created remedy for implied causes of action

against federal officials; they lack any congressional imprimatur whatsoever. But,

as Hernandez explains, this “problem” with judicially implied causes of action “does

not exist when a common-law court, which exercises a degree of lawmaking

authority, fleshes out the remedies available for a common law tort.” Id. at 742. As

the Supreme Court held in Sosa and its progeny, the ATS provides express

congressional authorization to the judiciary—absent in the Bivens context—to

recognize causes of action for a limited set of common law norms. See Sosa, 542

U.S. at 724; Kiobel v. Royal Dutch Petroleum Co., 569 U.S. 108, 137-38 (2013);

Nestlé USA, Inc. v. Doe, 141 S. Ct. 1931, 1935 (2021).


                                           19
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 28 of 35




         ATS claims for violations of jus cogens norms cannot be subject to a foreign

affairs or national security exception, moreover, because such norms are non-

derogable. See Second Br. 52-54; see also United States v. Matta-Ballesteros, 71

F.3d 754, 764 n.5 (9th Cir. 1995), modified by 98 F.3d 1100 (9th Cir. 1996). Like

the norm prohibiting torture, non-refoulement by a state actor is not subject to

exceptions in the name of national security. See Filartiga, 630 F.2d at 884.

         In addition, a foreign affairs or national security exception for ATS claims

would swallow the rule regarding enforcement of customary international law, given

that ATS cases routinely touch on issues of foreign relations and national security,

and no court has ever created such an exception. See, e.g., Al Shimari v. CACI

Premier Tech., Inc., 840 F.3d 147, 159 (4th Cir. 2016) (claims of national security

or military commands do not foreclose ATS claims of torture and war crimes); Sarei

v. Rio Tinto, PLC, 671 F.3d 736, 758-64 (9th Cir. 2011), amended by 772 F.3d 1109

(9th Cir. 2013) (genocide and war crimes); Kadic v. Karadzic, 70 F.3d 232, 242 (2d

Cir. 1995) (war crimes and genocide); In re Estate of Marcos, 25 F.3d at 1475

(military’s torture). Indeed, because the congressional purpose in enacting the ATS

was “to ensure the availability of a federal forum where the failure to provide one

might cause another nation to hold the United States responsible for an injury to a

foreign citizen,” Jesner v. Arab Bank, PLC, 138 S. Ct. 1386, 1397 (2018), the interest

in foreign relations only supports enforcing a cause of action here, to benefit asylum-


                                           20
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 29 of 35




seeking plaintiffs aggrieved by U.S. human rights violations. Compare Jesner, 138

S. Ct. at 1407 (declining to recognize ATS action against foreign corporation whose

sovereign government strenuously objected to suit).

         Finally, Defendants’ invocation of “national security” lacks analysis or

evidence demonstrating that it is a bona fide concern in this case. In any event,

“national-security concerns must not become a talisman used to ward off

inconvenient claims—a ‘label’ used to ‘cover a multitude of sins.’” Ziglar v. Abbasi,

582 U.S. 120, 143 (2017). The actual record conclusively proves that metering was

driven by domestic political calculations, not national security. See supra Section

I.C.

         Sovereign Immunity

         Defendants argue that sovereign immunity is a prudential factor that also

precludes recognizing an ATS claim. Notably, Defendants do not actually invoke

sovereign immunity as a basis to dismiss the claim, likely because they failed to raise

this defense in response to the Second Amended Complaint, thereby waiving the

defense under Federal Rule of Civil Procedure 12(h).11



11
   The Ninth Circuit recognizes that federal sovereign immunity “despite the label
‘immunity’” is properly understood as “a defense to liability rather than a right to be
free from trial”—that is, not a bona fide immunity, Alaska v. United States, 64 F.3d
1352, 1355-56 (9th Cir. 1995), demonstrating that the defense, like other non-
jurisdictional defenses, is waivable. See United States v. Beggerly, 524 U.S. 38, 42–
48 (1998).

                                           21
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 30 of 35




         Regardless, sovereign immunity is a red herring because Plaintiffs seek only

non-monetary relief, and Congress expressly waived sovereign immunity for all

claims for non-monetary relief as part of the APA. 5 U.S.C. § 702; Navajo Nation v.

Dep’t of the Interior, 876 F.3d 1144, 1171 (9th Cir. 2017) (“§ 702 waives whatever

sovereign immunity the United States enjoyed from prospective relief with respect

to any action for injunctive relief”) (internal quotations omitted) (emphasis added).

See also Armstrong v. Exceptional Child Ctr., Inc. 575 U.S. 320, 327 (2015)

(confirming availability of equitable relief “with respect to violations of federal law

by federal officials”).

         Finally, any nominal interest in sovereign immunity would be outweighed in

the face of the violation of jus cogens norms. Federal sovereign immunity has no

constitutional provenance; it is a creature of federal common law. Al Shimari v.

CACI Premier Tech., Inc., 368 F. Supp. 3d 935, 944 n.4 (E.D. Va. 2019). The ATS

is a jurisdictional statute that instructs judges to look to federal common law (as

informed by the law of nations) for substantive rules of decision. Sosa, 542 U.S. at

732; Kadic, 70 F.3d at 246. Where, as here, the relevant substantive law is a jus

cogens norm, that norm trumps an interest in sovereign immunity. Siderman, 965

F.2d at 718; see also Al Shimari, 368 F. Supp. 3d at 963 (prohibition on jus cogens

violations “necessarily” imposes a “rule requiring an effective means to redress that

violation,” lest the “prohibitory norm itself would be toothless”). Put another way,


                                           22
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 31 of 35




because “jus cogens violations are, by definition, acts that are not officially

authorized by the Sovereign,” immunity cannot extend to actions that violate jus

cogens norms. Yousuf v. Samantar, 699 F.3d 763,776 (4th Cir. 2012); Al Shimari,

368 F. Supp. 3d at 966 (similar); Mireskandari v. Mayne, 2016 WL 1165896, at *17

(C.D. Cal. Mar. 23, 2016) (following Samantar); C.D.A. v. United States, 2023 WL

2666064, at *18-20 (E.D. Pa. Mar. 28, 2023) (following Al Shimari).

         C.    Defendants’ Novel ATS Arguments on the Merits Are
               Unpersuasive

         This Court can dispense with Defendants’ remaining arguments, raised for the

first time on appeal. Third Br. 56-57. First, in recognizing a non-refoulement cause

of action, the court should be guided by the law of nations, which strives to protect

the right to apply for asylum,12 and not limit the right to the scope of “the withholding

statute.” Third Br. 56.

         Second, the facts in this case demonstrate that Plaintiffs likely face

persecution based on protected grounds. Id. Three Doe Plaintiffs—Abigail, Beatrice,

and Carolina—are Mexican nationals who claimed fear of persecution in Mexico,

the country to which they were refouled. See 1-FER-090–91; 101–103; 114–115.


12
   Many international sources refer to non-refoulement as protecting the right to
apply for asylum specifically. See, e.g., See Hirsi Jamaa and Others v. Italy, 2012-
II Eur. Ct. H.R. 97 (2012); G.A. Res. 2312, Declaration on Territorial Asylum, 22
U.N. GAOR Supp. (No. 16) at 31, U.N. Doc. A/6716 (1967); U.N. High Comm’r
for Refugees, Exec. Comm., Protection of Asylum-Seekers in Situations of Large-
Scale Influx No. 22 (XXXII), ¶ II.A, U.N. Doc. A/36/12/Add. 1 (Oct. 21,1981).

                                           23
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 32 of 35




Non-Mexican Plaintiffs reported a substantial fear of harm in Mexico. See, e.g., 1-

FER-014-240; 2-FER-258-267. And, to the extent this Court believes that Plaintiffs’

“generalized contention[s]” are “insufficient to establish [the] nexus” with protected

bases of persecution, it then becomes a proper triable issue that can be addressed on

remand.

         Finally, no court is being asked to “sit in judgment of Mexico’s enforcement

of its own immigration laws,” Third Br. 57, only to recognize the reality of what the

record supports—CBP’s expulsion of migrants to Mexico will lead to Mexico-

initiated deportations.

         This Court should reverse the district court’s holding and grant summary

judgment on Plaintiffs’ ATS claim.

                                   CONCLUSION

         Plaintiffs should have prevailed on all of their claims at summary judgment,

not just on their APA § 706(1) and Fifth Amendment claims. This Court should

reverse the District Court’s rulings concerning § 706(2), the independent INA claim,

and the ATS claim, grant Plaintiffs summary judgment on their ATS claim, and

remand the case for reconsideration of Plaintiffs’ § 706(2) and independent INA

claims under the proper legal standard.

Dated: May 22, 2023

                                                Respectfully submitted,


                                           24
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 33 of 35




                                                   /s/ Ori Lev
   Melissa Crow                                     Ori Lev
   CENTER FOR GENDER & REFUGEE STUDIES              MAYER BROWN LLP
   1121 14th Street, N.W., Suite 200                1999 K Street, N.W.
   Washington, DC 20005                             Washington, DC 20006
   (202) 355-4471                                   (202) 263-3270

   Neela Chakravartula                             Matthew H. Marmolejo
   Anne Dutton                                     MAYER BROWN LLP
   CENTER FOR GENDER & REFUGEE STUDIES             350 S. Grand St., 25th Floor
   200 McAllister Street                           Los Angeles, CA 90071
   San Francisco, CA 94102                         (213) 621-9483
   (415) 565-4877
                                                   Stephen M. Medlock
   Baher Azmy                                      Evan Miller
   Angelo Guisado                                  Rami Rashmawi
   CENTER FOR CONSTITUTIONAL RIGHTS                VINSON & ELKINS LLP
   666 Broadway, 7th Floor                         2200 Pennsylvania Ave., N.W.
   New York, NY 10012                              Suite 500 West
   (212) 614-6464                                  Washington, DC 20036
                                                   (202) 639-6500
   Sarah Rich
   SOUTHERN POVERTY LAW CENTER
   150 E. Ponce de Leon Ave., Suite 340
   Decatur, GA 30030
   (404) 521-6700

   Rebecca Cassler
   SOUTHERN POVERTY LAW CENTER
   1101 17th Ave. NW, Suite 705
   Washington, D.C. 20036
   (404) 521-6700

   Kate Melloy Goettel
   Gianna Borroto
   Suchita Mathur
   AMERICAN IMMIGRATION COUNCIL
   1331 G St. N.W., Suite 200
   Washington, DC 20005

                                           25
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 34 of 35




   (202) 507-7552




                                           26
753988227.2
          Case: 22-55988, 05/22/2023, ID: 12720545, DktEntry: 70, Page 35 of 35




                         CERTIFICATE OF COMPLIANCE

         The undersigned hereby certifies that:

    1. The motion is proportionally spaced, has a typeface of 14 point or more, and

         contains 5,778 words, exclusive of the exempted portions of the brief.

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Dated: May 22, 2023

                                                  Respectfully submitted,

                                                  /s/ Ori Lev
                                                  Ori Lev
                                                  MAYER BROWN LLP
                                                  1999 K Street, N.W.
                                                  Washington, DC 20006
                                                  (202) 263-3270




753988227.2
